          Case 2:17-cv-01897-RSM Document 39 Filed 01/09/19 Page 1 of 9



                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF WASHINGTON
                               (SEATTLE)


THOMAS WEINSTEIN,                         )
                                          )
                 Plaintiffs,              )     2:17-cv-01897-RSM
                                          )     Judge Martinez
v.                                        )
                                          )     Defendant’s Trial Brief
MANDARICH LAW                             )
GROUP, PLLC,                              )
                                          )
                 Defendants.              )
                                          )


           Pursuant to this Court’s February 2, 2018 order, Defendant, Mandarich

Law Group, LLP (“MLG”), by and through its undersigned counsel, hereby

submits its Trial Brief:

                                 INTRODUCTION

           On November 28, 2018, this Court granted partial summary judgment

to Plaintiff, Thomas Weinstein, and against Defendant, Mandarich Law

Group, LLP, finding a violation of §1692e of 15 U.S.C. §1692 et seq. and RCW

19.16.250 (21). On January 14, 2019, the matter will proceed to a bench trial

on damages.

                           ARGUMENT AND AUTHORITY

     I.       15 U.S.C. 1692e

     The Court found that Defendant failed to credit Plaintiff for amounts paid

towards his debt and failed to provide him with a copy of the motion for default
     Case 2:17-cv-01897-RSM Document 39 Filed 01/09/19 Page 2 of 9



judgment required by court rules. See, D.E. 35, P. 6. The Court further found

that the natural consequence of these failures was that Defendant used “false,

deceptive or misleading representations to a court in connection with the

collection of and characterization of the amount of this debt” in violation of

§1692e.

   Upon finding a violation of the FDCPA, the finder of fact then determines

whether damages are appropriate. There are two types of damages available

under the Act; (1) statutory, and (2) actual damages. In setting the amount of

either damages, the Court considers the “frequency and persistence of

noncompliance by the debt collector, the nature of such noncompliance, and the

extent to which such noncompliance was intentional.” 15 U.S.C. §1692k(b).

   As to the first factor, frequency and persistence of noncompliance by the

debt collector, the Court must note that the violation found was not frequent

or persistent. While a clerical error was certainly made relative to the amount

of the initial judgment, credit was always given to Plaintiff for the payments

he made in the two post judgment garnishment proceedings. Defendant never

asked the state court to turn over any more than Plaintiff actually owed on the

debt. Moreover, appropriate notice was always provided of these subsequent

proceedings. Second, as to the nature of noncompliance, the evidence will show

that the violations were clerical errors in nature. This is not a circumstance

where a consumer was physically threatened, stolen from, or harassed.

Further, the evidence will show at trial that Defendant never intentionally
      Case 2:17-cv-01897-RSM Document 39 Filed 01/09/19 Page 3 of 9



violated the Act. In fact, Defendant maintains many policies and procedures to

ensure compliance with the Act. In addition, it maintains checks and balances

to ensure that credits and notice are given in the event of default judgments.

As soon as Defendant was put on notice of Plaintiff’s issues (which was only

done via this federal suit) with the garnishment, it chose to discontinue it1.

    Again, Defendant was only made aware of the issue with the initial

judgment as a result of the instant suit. Plaintiff refused to communicate with

Defendant after the initial telephone call. In contrast, Defendant attempted to

communicate many times with both Plaintiff and his attorney concerning the

state court case in good faith. The evidence will further show that had

Defendant been put on notice of Plaintiff’s issues with the garnishment sooner,

Defendant would have been happy to work with Plaintiff to resolve any issues.

    In short, this is not a case where a debt collector committed abhorrent acts

against a consumer; such a threatening a consumer with jail or physical

violence. While certainly clerical errors were made by Defendant, a full award

of statutory damages is not justified.



    Relative to actual damages, Plaintiff has been unable throughout this

litigation to point to any out of pocket costs. He never paid any money to his

attorneys and refuses to disclose where he is obligated to do so. P. 72-73.



1Notably, Defendant continues to represent its client creditor, CACH, LLC, in the underlying
proceeding against Plaintiff. However, Defendant has taken no further action and could only do so at
the direction and with the consent of CACH, LLC.
     Case 2:17-cv-01897-RSM Document 39 Filed 01/09/19 Page 4 of 9



Plaintiff will testify that he suffered no physical symptoms of any emotional

distress. See, P. 82, L. 23-24. He never saw a doctor. See, P. 82, L. 25 to P. 83,

L. 1. No one in his life has seen symptoms of his anxiety or physical emotional

distress. Id. at L. 7-10. All he can recall is stating to his wife that “this is

stressful.” Id. at L. 19-20. In fact, in his deposition, Plaintiff explained that he

was only seeking payment transportation costs, which he later admitted he did

not incur. P. 65, L. 3-6.

   II. RCW 19.16.250 (21)

   This Court has also found a violation of RCW 19.16.250(21) (the “WCAA”).

This section prohibits a collector from attempting to collect in addition to the

principal amount of a claim any sum other than allowable interest, collection

costs or handling fees expressly authorized by statute, and, in the case of suit,

attorney's fees and taxable court costs.

   The WCAA does not provide a debtor with a cause of action. Genschorck v.

Suttell & Hammer, P.S., Case No. C12-0615-TOR, 2013 U.S. Dist. LEXIS

165826, *8 (E.D. Wash. Nov. 21, 2013) (citing Connelly v. Puget Sound

Collections, Inc., 16 Wn. App. 62, 553 P.2d 1354 (Wash. 1976)). Instead, a

violation of the WCAA is enforced through Section 19.16.440 of the WCPA.

Evergreen Collectors v. Holt, 60 Wn. App. 151, 803 P.2d 10, 12 (Wash. Ct. App.

1991).

         RCW 19.16.440 dictates that violations of 19.15.250 constitute “unfair

acts or practices or unfair methods of competition in the conduct of trade or
     Case 2:17-cv-01897-RSM Document 39 Filed 01/09/19 Page 5 of 9



commerce for the purposes of the application of the Consumer Protection Act

found in chapter 19.86 RCW”. However, the analysis does not end there as that

only satisfies two elements of the CPA.

      To prevail on a CPA claim, a plaintiff must establish five distinct

elements: “(1) unfair or deceptive act or practice; (2) occurring in trade or

commerce; (3) public interest impact; (4) injury to plaintiff in his or her

business or property; [and] (5) causation.” Hangman Ridge Training Stables,

Inc. v. Safeco Title Ins. Co., 105 Wash.2d 778, 719 P.2d 531, 533 (1986).

      Here, while this Court has found a violation of the WCAA, the Court

made no finding as to injury or causation2. Schore v. Renton Collections, Inc.

2018 U.S. Dist. LEXIS 73359, at *13 (W.D. Wash. May 1, 2018) (discussing the

two final CPA elements in the context of a WCAA claim). An injury occurs

when “the plaintiff was wrongfully induced to. . . incur expenses that would

not otherwise have been incurred.” Id. (internal citations omitted). For

example, courts have found injury to be stablished where a consumer incurs a

cost of hiring an attorney to determine his or her rights and responsibilities.

Id. at *13-14.

      If those elements are established, the CPA allows a person harmed

under the statute “to recover the actual damages sustained by him or her. . .




2The Court’s order was silent on whether it found the remaining two
elements established but found Defendant liable under the “WPAA as stated
above.” See, D.E. 35, P7-8.
     Case 2:17-cv-01897-RSM Document 39 Filed 01/09/19 Page 6 of 9



together with the costs of the suit, including a reasonably attorney’s fee.”3 RCW

19.86.090.   “Personal   injures”,   including   emotional   distress,   are   not

compensable damages under the CPA. Wash. State Physicians Ins. Exch. &

Ass'n v. Fisons Corp., 122 Wash. 2d 299, 318, 858 P.2d 1054, 1064 (1993). See

also, Moritz v. Daniel N. Gordon, P.C., 895 F. Supp. 2d 1097 (2012) [WCAA

plaintiff cannot recover damages for emotional distress under the Consumer

Protection Act].

      Plaintiff has never been able to identify any actual damages sustained

by him as a result of any violation of the CPA, including RCW 19.16.250(21).

When questioned in written discovery and via deposition, Plaintiff has never

provided any explanation or proof that he suffered any out of pocket expenses

or other CPA compensable damages. (Weinstein Deposition P. 76-85). Plaintiff

has no proof of receipts for purchases, proof his reputation suffered at work,

proof his credit suffered damage, or any other compensable injury.

      Importantly, while this Court found that $3,558.05 was not owed by

Plaintiff at the time of the default judgment due to his payments, all payments

made on the judgment were properly credited to Plaintiff when post-judgment

actions were taken to collect that judgment.




3 Importantly, RCW 19.86.140, which provides that violations of RCW
19.86.020 are subject to a civil penalty of not more than two thousand dollars
for each violation is inapplicable to the instant matter as it is limited to
actions brought by the state, and not a private plaintiff. See, Dawson v.
Genesis Credit Mgmt., LLC, 2017 Wl 5668073, at *5 (W.D. Wash. Nov. 27,
2017).
     Case 2:17-cv-01897-RSM Document 39 Filed 01/09/19 Page 7 of 9



      Specifically, the evidence will show that the post judgment interest rate

applied to the debt at issue in the case was 12% per annum in accordance with

the state court’s October 13th, 2015 order. In the April 2017 writ, the daily

interest rate charged is listed as $.53 cents. That daily rate was calculated

after giving Plaintiff credit for payments in the amount of $1,957.42 (.e.g,

$1,600.60*.12=Yearly Interest of $192.072. $192.07 divided by 365 days in a

year gives daily interest of $.053.) Thus, the interest accrued from 10/13/2015-

3/26/2016 in the amount of $296.61 was proper. Further, all the evidence at

trial will indicate that the fees charged for postage, court costs and attorneys’

fees were taxable court costs (See, April 17, 2017 Garnishment).

      Likewise, the October 2017 garnishment also provided credit to Plaintiff

for all payments made and calculated the correct amount of interest and fees.

That amount was calculated as follows: $3,558.05 minus payments made of

$3,319.69= $238.30 plus $300 attorneys’ fees awarded * .12= $64.50. $64.50

divded by 265 days in a year gives a daily interest rate of $.1769 per day. As

with the April garnishment, all evidence at trial will indicate that the fees

charged for postage, court costs and attorney’s fees were taxable court costs

(See October 20, 2017 Garnishment).

      In short, credit was always given for the payments made by Plaintiff in

the post judgment actions and no more than Plaintiff owed was ever garnished.

Plaintiff is not injured in the amount collected when the plaintiff owed the debt

even where the debt collector violated state law in doing so. Moritz v. Daniel
     Case 2:17-cv-01897-RSM Document 39 Filed 01/09/19 Page 8 of 9



N. Gordon, P.C., 895 F.Supp.2d 1097, 1117 (W.D. Wa. 2012); Rosenberg v. CCS

Commer., LLC, 2018 U.S. Dist. LEXIS 105785, at *23 (W.D. Wash. June 25,

2018) (collecting cases).

      As noted prior, the evidence will also show that the October 20, 2017

garnishment was terminated voluntarily by Defendant after service of this

lawsuit. This is the first time that Defendant was ever put on notice, either

formally or informally, by Plaintiff of its error relative to the original amount

of the judgment or Plaintiff’s position relative to the purported agreement

reached. Plaintiff, during the court of the state court litigation, never

responded to any of Defendant’s calls nor did his prior counsel.

      Accordingly, Defendant submits there is not a sufficient basis for this

Court to award any damages under the CPA.

                                     /s/ Nicole M. Strickler
                                     Nicole M. Strickler (IL Bar #6298459)
                                     Messer Strickler, Ltd.
                                     225 W. Washington St. Ste. 575
                                     Chicago, IL 60606
                                     (312) 334-3469
                                     Fax: (312) 334-3474
                                     nstrickler@messerstrickler.com
                                     Pro Hac Vice Attorney for Defendant

                                     /s/ Andrew D. Shafer
                                     Andrew D. Shafer (State Bar No. 9405)
                                     Simburg Ketter Sheppard & Purdy, LLP
                                     999 Third Ave., Ste. 2525
                                     Seattle, WA 98104
                                     (206) 330-2054 (direct)
                                     ashafer@sksp.com
                                     Attorney for Defendant
     Case 2:17-cv-01897-RSM Document 39 Filed 01/09/19 Page 9 of 9




                        CERTIFICATE OF SERVICE

        I hereby certify that on this 9th day of January, 2019, I electronically
filed the foregoing with the Clerk of the Court using the CM/ECF system which
will send notification of such filing to the attorneys of record.

                                       /s/ Nicole M. Strickler
                                       Nicole M. Strickler (IL Bar #6298459)
                                       Messer Strickler, Ltd.
                                       225 W. Washington St. Ste. 575
                                       Chicago, IL 60606
                                       (312) 334-3469
                                       Fax: (312) 334-3474
                                       nstrickler@messerstrickler.com
                                       Pro Hac Vice Attorney for Defendant
